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AO 442 (Rev. ll/ll)    Arrest Warrant



                                             UNITED STATES DISTRICT COURT
                                                                               for the

                                                                    District    of Columbia


                      United States of America            v.
                                                                                 )
                        Victor Sean Dennison
                                                                                 )   Case: 1:23-mj-00011
                                                                                 )   Assigned To : Harvey, G. Michael
                                                                                 )   Assign. Date : 1/12/2023
                                                                                 )
                                                                                 )   Description: Complaint WI Arrest Warrant
                                 Defendant


                                                               ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                        to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                  Victor Sean Dennison
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            o     Superseding Indictment              o Information             o   Superseding Information                 N Complaint
o     Probation Violation Petition                o    Supervised Release Violation Petition                o Violation    Notice           0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 17S2(a)(I)             - Entering     and Remaining        in a Restricted       Building     or Grounds,
 18 U.S.C. § I 7S2(a)(2)            - Disorderly       and Disruptive     Conduct        in a Restricted    Building     or Grounds,
 40 U.S.C. § SI04(e)(2)(D)               - Disorderly     Conduct     in a Capitol Building         or Grounds,
 40 U.S.C. § SI04(e)(2)(G)               - Parading,     Demonstrating,        or Picketing     in a Capitol Building.

                                                                                                                                Digitally   signed   by G.
                                                                                                         G. Michael             Michael     Harvey
                                                                                                                                Date: 2023.01.12      20:05:21
Date: _~O~1~/1~2~/2=O=23~_                                                                               Harvey                 -O5'OO~'                               _
                                                                                                             Issuing officer's signature


City and state:                         Washington, D.C.                                      G. MICHAEL HARVEY, U.S. MAGISTRATE JUDGE
                                                                                                               Printed name and title


                                                                               Return
                                                          ~
                                                           :J;.'1   It; totJ ,and the person was arrested on (date)                         :J:"             I.J I Zt:>ZJ


                                                                          .                         L-
          This warrant was received on (date)
at (city and state)     S' 0-1    '])!J      0I     CA

Date:     ~"            13I ~       2S                                                       A::A-~,,,,,g              o!fi=·, ,i""o,.~
